                          UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: JASON ALLEN BENNER and                         : CHAPTER 13
       CHRISTIANA ELIZABETH BENNER                    :
           Debtor(s)                                  :
                                                      :
         CHARLES J. DEHART, III                       :
         STANDING CHAPTER 13 TRUSTEE                  :
            Movant                                    :
                                                      :
               vs.                                    :
                                                      :
         JASON ALLEN BENNER and                       :
         CHRISTIANA ELIZABETH BENNER                  :
             Respondent(s)                            : CASE NO. 5-18-bk-00494


               TRUSTEE’S OBJECTION TO AMENDED CHAPTER 13 PLAN

                AND NOW, this 24th day of August, 2018, comes Charles J. DeHart, III,
Standing Chapter 13 Trustee, and objects to the confirmation of the above-referenced debtor(s)’
plan for the following reason(s):

               1. Debtor(s)' plan violates 11 U.S.C. Sec. 1322(a)(1) in that the debtor(s) has not
submitted all or such portion of the disposable income to the Trustee as required.

                2. Trustee avers that debtor(s)’ plan is not feasible and cannot be administered due
to the lack of the following:

                     a. Paystub for month ending August 31, 2018.

               WHEREFORE, Trustee alleges and avers that debtor(s) plan is nonconfirmable and
therefore Trustee prays that this Honorable Court will:

                     a. Deny confirmation of debtor(s) plan.
                     b. Dismiss or convert debtor(s) case.
                     c. Provide such other relief as is equitable and just.

                                                  Respectfully submitted:

                                                  Charles J. DeHart, III
                                                  Standing Chapter 13 Trustee
                                                  8125 Adams Drive, Suite A
                                                  Hummelstown, PA 17036
                                                  (717) 566-6097

                                     BY:          /s/Agatha R. McHale
                                                  Attorney for Trustee


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                                  CERTIFICATE OF SERVICE

               AND NOW, this 24th day of August, 2018, I hereby certify that I have served
the within Objection by electronically notifying parties or by depositing a true and correct copy of
the same in the United States Mail at Harrisburg, Pennsylvania, postage prepaid, first class mail,
addressed to the following:

Patrick James Best, Esquire
18 N. 8th Street
Stroudsburg, PA 18360


                                                 /s/Deborah A. Behney
                                                 Office of Charles J. DeHart, III
                                                 Standing Chapter 13 Trustee




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